Motion to dismiss appeal. This is an appeal from the judgment alone under what is known as the alternative method. There is before us no record showing the proceedings at the trial, but there is on file a typewritten copy of the judgment-roll, certified by the clerk of the trial court. Respondent moves to dismiss the appeal because of the absence of such record of the trial as is designated, under section 953a of the Code of Civil Procedure, to take the place of a bill of exceptions; but, under the opinion of the supreme court denying an application for rehearing in McKinnell v. Hansen, 34 Cal.App. 76, [167 P. 887], the typewritten copy of the judgment-roll presents such a record as entitles the appeal to be heard on the merits. The record of the proceedings at the trial is not necessary as a predicate to the right to such hearing.
The motion to dismiss the appeal is denied.
Conrey, P. J., and James, J., concurred.